                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

STRYKER CORPORATION and HOWMEDICA          )
OSTEONICS CORP.,                           )
                      Plaintiffs,          )
                                           )         No. 1:17-cv-66
-v-                                        )
                                           )         Honorable Paul L. Maloney
XL INSURANCE AMERICA, INC., formerly known )
as WINTERTHUR INTERNATIONAL AMERICA )
INSURANCE COMPANY,                         )
                       Defendant.          )
                                           )

                                    JUDGMENT

       The Court hereby enters judgment in favor of Plaintiffs and against Defendant as

follows:

 Principal                                                              $6,194,258.00
 Pre-filing prejudgment interest under                                  $2,468.369.39
 M.C.L. § 438.7 for the period between
 February 2, 2009 and January 20, 2017
 Post-filing prejudgment interest under                                   $967,935.99
 M.C.L. § 600.6013(8) for the period
 between January 20, 2017 and September
 15, 2020
 Total                                                                  $9,630,563.38

       Pursuant to Fed. R. Civ. P. 58, JUDGMENT hereby enters.

       THIS ACTION IS TERMINATED.

       IT IS SO ORDERED.

Date: September 15, 2020                              /s/ Paul L. Maloney
                                                     Paul L. Maloney
                                                     United States District Judge
